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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION


AT&T MOBILITY LLC,

                       Plaintiff,

v.                                              CIVIL ACTION NO.4:22-CV-00760-ALM

T-MOBILE USA INC.,

                       Defendant.


       PLAINTIFF’S RESPONSE TO DEFENDANT T-MOBILE USA, INC.’S
     MOTION TO DISMISS THE COMPLAINT PURSUANT TO RULE 12(b)(2)

      Plaintiff AT&T Mobility LLC responds to Defendant T-Mobile USA, Inc.’s Motion

to Dismiss the Complaint Pursuant to Rule 12(b)(2) as follows:
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                                    INTRODUCTION

       T-Mobile falsely advertises to senior citizens in Texas through its website

“BannedSeniors.com.” To skirt an injunction and avoid accountability in this Court, T-

Mobile asks the Court to dismiss AT&T’s complaint for lack of personal jurisdiction

because it is supposedly a stranger to this forum. This argument strains credulity. T-Mobile

has corporate offices in Frisco with more than a thousand employees, over a hundred retail

locations throughout Texas, two stores less than ten miles from the Paul Brown

Courthouse, hundreds if not thousands of retail workers in Texas, and cell towers and

infrastructure across the State providing wireless services and internet in Texas. T-Mobile

also sells services and products to Texans and injects products into the stream of commerce

in Texas. Moreover, “BannedSeniors.com” is an interactive website that expressly targets

Texas senior citizens to entice them to switch their wireless service from AT&T to T-

Mobile.

       Under settled precedent from both this Court and the Fifth Circuit, T-Mobile is

subject to general jurisdiction because its extensive operations in Texas and use of Texas as

one of three corporate hubs make it “at home” here. See Frank v. PNK (Lake Charles)

L.L.C., 947 F.3d 331, 339–40 (5th Cir. 2020); Transplace Tex., L.P. v. Higgins, No. 4:10-

cv-428, 2011 WL 623172, at *7 (E.D. Tex. Jan. 19, 2011). T-Mobile is also subject to

specific jurisdiction because “BannedSeniors.com” is a highly interactive website that

targets Texas consumers, and T-Mobile purposefully availed itself of the privilege of doing

business here. Admar Int’l Inc. v. Eastrock, L.L.C., 18 F.4th 783, 785–88 (5th Cir. 2021);

Andra Grp., LP v. Bareweb Inc., No. 4:17-cv-00815, 2018 WL 2848985, at *5–6 (E.D.



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Tex. June 11, 2018). For either or both reasons, the Court should deny T-Mobile’s motion

to dismiss.

                                     LEGAL STANDARD

       To defeat T-Mobile’s motion, AT&T need only make a prima facie showing that the

court has personal jurisdiction. Sangha v. Navig8 Shipmanagement Private Ltd., 882 F.3d

96, 101 (5th Cir. 2018). T-Mobile mounted a facial, rather than factual, attack on personal

jurisdiction because it challenged AT&T’s pleadings alone without attaching any

supporting evidence. In determining whether a prima facie showing has been made, the

Court accepts AT&T’s allegations as true. Lahman v. Nationwide Providers Solutions, No.

4:17-cv-00305-ALM, 2018 WL 3035916, at *4 (E.D. Tex. June 19, 2018) (cleaned up)

(“When considering the motion to dismiss, allegations in a plaintiff’s complaint are taken

as true except to the extent that they are contradicted by defendant’s affidavits.”).

       Because the Texas long-arm statute confers jurisdiction to the limits of due process

under the Constitution, “the sole inquiry that remains is whether personal jurisdiction

offends or comports with federal constitutional guarantees.” Cunningham v. CBC

Conglomerate, LLC, 359 F. Supp. 3d 471, 477 (E.D. Tex. 2019) (citations omitted). “The

Due Process Clause permits the exercise of personal jurisdiction over a non-resident

defendant” when the defendant has “minimum contacts with the forum state such that

maintenance of the suit does not offend traditional notions of fair play and substantial

justice.” Id. Minimum contacts may “be satisfied by contacts that give rise to either general

jurisdiction or specific jurisdiction.” Id.




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                                        ARGUMENT

I.   T-Mobile is subject to general jurisdiction.

       “General jurisdiction exists over a non-resident defendant when its ‘affiliations with

the State are so continuous and systematic as to render them essentially at home in the

forum state.’” Frank, 947 F.3d at 336 (quoting Goodyear Dunlop Tires Ops., S.A. v.

Brown, 564 U.S. 915, 919 (2011)). General jurisdiction for foreign corporations is often

associated with the corporation’s state of incorporation and principal place of business. Id.

at 337. But this is not an exhaustive list, and corporations may be subject to general

jurisdiction in fora beyond those two locations. Id. The key inquiry is merely whether the

corporation is “at home” in the forum state. Id. A corporation is “deemed ‘at home’ when

‘the continuous corporate operations within a state are so substantial and of such a nature

as to justify suit on causes of action arising from dealings entirely distinct from those

activities.’” Id. (quoting Daimler AG v. Bauman, 571 U.S. 117, 127 (2014)).

       This means that a corporation’s “affiliations with the forum state must approximate

physical presence.” Id. at 339. To assess physical presence, courts consider whether a

foreign company has physical operations, employees, registered agents, licenses or permits,

offices, or real estate in the forum state, as well as whether the entity maintains accounts or

pays taxes in the forum state. Id.; see also Transplace, 2011 WL 623172, at *7 (holding

defendant was subject to general jurisdiction because it was “registered to do business in

Texas,” had “two physical presences in Texas,” and “four employees in Texas, one of

which” was an executive VP of sales).

       Here, the extent, nature, and duration of T-Mobile’s presence in Texas leave no

doubt that it is at home here and thus subject to general jurisdiction. See, e.g., Doc. 1,

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Compl. ¶¶ 16–17. AT&T requests that the Court take judicial notice of these contacts

under Federal Rule of Evidence 201. T-Mobile maintains a Texas registered agent, pays

Texas franchise taxes, and has been registered to do business in Texas since 1999.1 See

Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011) (noting district court properly

took judicial notice of public records in ruling on a motion to dismiss); In re Comu, No.

09-38820-SGJ-7, 2014 WL 3339593, at *45 n. 915 (Bankr. N.D. Tex. July 8, 2014) (“The

Court may take judicial notice of these public tax records.”).

       T-Mobile’s business operations in Texas are expansive. Indeed, T-Mobile

highlighted its extensive Texas presence in a court filing nearly ten years ago:

              Through the prominent, long, and continuous use in
              commerce, including commerce within the State of Texas, the
              Magenta Mark has become and continues to be famous and
              distinctive throughout Texas.

T-Mobile US, Inc., et al. v. AIO Wireless, LLC, No. 4:13-cv-02478 (S.D. Tex.), Doc. 1,

Compl. ¶ 64); see Sanders v. Univ. of Tex. Pan Am., 776 F. App’x 835, 837–38 (5th Cir.

2019) (“It is well settled that courts may take judicial notice of matters of public record,

like the complaint [filed by plaintiff in separate litigation].”); Brown v. Lippard, 350 F.

App’x 879, 883 n.2 (5th Cir. 2009) (noting courts may take judicial notice of, among other

things, records and pleadings from separate litigation). T-Mobile’s Texas operations have

only grown since then.




1
  https://direct.sos.state.tx.us/corp_inquiry/corp_inquiry-entity.asp?spage=docs&:Spagefro
m=&:Sfiling_number=12958406&:Ndocument_number=1178877790002&:Npgcurrent=1&:Norder_item_
type_id=10 (last visited Sept. 20, 2022) (registered agent and corporate registration);
https://mycpa.cpa.state.tx.us/coa/coaSearchBtn# (last visited Sept. 20, 2022) (franchise tax).

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        T-Mobile has extensive physical operations in Texas, including towers and

infrastructure that offer wireless service and internet across the state:




https://www.t-mobile.com/coverage/coverage-map (last visited Sept. 20, 2022); see

Gemstar Grp. USA, Inc. v. Ferragamo USA, Inc., No. H-08-1822, 2008 WL 4858363, at

*7 (S.D. Tex. Nov. 10, 2008) (taking judicial notice of defendant’s website, and the contents

and links contained in it, to assess forum contacts in analyzing personal jurisdiction); see

also Garteiser Honea, P.C. v. Moskowitz, No. 2:18-cv-00372-JRG, 2018 WL 6617780, at

*2 (E.D. Tex. Dec. 18, 2018) (taking judicial notice of contents of defendant’s website to

conduct jurisdictional analysis).2 In the past year alone, T-Mobile has advertised further

expansion in Texas, claiming that it had “expan[ded] T-Mobile Home Internet in 57 cities




2
  Taking judicial notice of T-Mobile’s website does not affect the presumption of truth attached to AT&T’s
allegations. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (noting that
when ruling on a 12(b)(6) motion where plaintiff’s allegations are taken as true, a court may consider “matters
of which a court may take judicial notice”); Joganik v. E. Tex. Med. Ctr., No. 6:19-cv-517-JCB-KNM, 2021
WL 6694455, at *11 (E.D. Tex. Dec. 14, 2021) (taking judicial notice of defendant’s website and statements
on website in ruling on 12(b)(6) motion).

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and     towns     across    Texas”—including       “Sherman-Denison.”       https://www.t-

mobile.com/news/network/t-mobile-home-internets-bigger-clap-clap-clap-clap-deep-in-the-

heart-of-texas (Jan. 19, 2022).

       T-Mobile also operates hundreds of retail locations throughout Texas, with

hundreds if not thousands of retail employees:




https://www.t-mobile.com/store-locator/tx. Two T-Mobile stores are within ten miles of

this Court. Id.

       Beyond retail locations, “T-Mobile also has corporate operations in this District in

Frisco.” Enovsys LLC v. T-Mobile USA, Inc., No. 2:21-cv-00368-JRG, 2022 WL 2161028,

at *1 (E.D. Tex. June 14, 2022); see also Nodal Tech. LLC v. T-Mobile US, Inc. and T-


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Mobile USA, Inc., No. 2:22-cv-00176-JRG (E.D. Tex.), Doc. 7, Answer ¶ 7 (“T-Mobile

admits that T-Mobile USA, Inc. maintains an office space at 7668 Warren Parkway, Frisco,

Texas. T-Mobile admits that T-Mobile USA, Inc. has retail stores in Allen, Longview, Plano,

and Tyler, Texas.”).

       Indeed, T-Mobile’s SEC filings identify Frisco as one of only three locations in the

United States where it maintains corporate offices; the two others are Overland Park,

Kansas and Bellevue, Washington. https://sec.report/Document/0001283699-21-000039/

(last visited Sept. 20, 2022) (“As of December 31, 2020, we owned and leased . . . office

space totaling approximately 1.3 million square feet for our corporate offices located in

Bellevue, Washington [and] office space totaling approximately 2.0 million square feet for

our corporate offices located in Overland Park, Kansas and Frisco, Texas.”); United States

ex rel. Lam v. Tenet Healthcare Corp., 481 F. Supp. 2d 673, 680 (W.D. Tex. 2006) (noting

courts “have the power to take judicial notice of Securities and Exchange Commission

(‘SEC’) filings”).

       T-Mobile’s Frisco corporate office was recently expanded and purportedly houses

over 1,500 workers, including “workers from T-Mobile marketing, IT, engineering, human

resources and finance.” Hundreds of Metro by T-Mobile workers moving to new Frisco

headquarters,        Dallas   Morning    News     (Mar.     18,    2020,     5:32     pm),

https://www.dallasnews.com/business/real-estate/2020/03/18/hundreds-of-t-mobile-

workers-moving-to-new-frisco-headquarters/; Metro by T-Mobile Moving Headquarters to

Frisco, D Magazine (Mar. 18, 2020, 6:22 pm), https://www.dmagazine.com/business-

economy/2020/03/metro-by-t-mobile-moving-headquarters-to-frisco/; Lam, 481 F. Supp.



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2d at 680 (“Courts have the power to take judicial notice of the coverage and existence of

newspaper and magazine articles.”).

        Simply put, T-Mobile identifies Texas as one of three corporate hubs. Cf. Nunes v.

NBCUniversal Media, LLC, 582 F. Supp. 3d 387, 396–97 (E.D. Tex. 2022) (assessing

contacts for general jurisdiction “in the context of the company’s overall activity”). T-

Mobile has had an extensive and persistent physical and business presence in Texas for over

20 years. Frank, 947 F.3d at 339. It operates a vast network of towers and infrastructure,

has hundreds of physical locations and thousands of employees, sells products and services

to Texans, pays Texas taxes, and maintains Texas permits and registrations. Id.

        These contacts render T-Mobile “at home” in Texas and, as a result, subject to

general jurisdiction. See id.; see also Transplace, 2011 WL 623172, at *7 (holding

defendant was subject to general jurisdiction because it was “registered to do business in

Texas,” had “two physical presences in Texas,” and “four employees in Texas, one of

which” was an executive VP of sales); Orica Explosives Tech., Pty., Ltd. v. Austin Powder

Co., No. 2:06-cv-450-TJW, 2007 WL 1115238, at *2 (E.D. Tex. Apr. 13, 2007) (finding

general jurisdiction when defendant maintained office space and employees in Texas, and

was registered to do business here). For this reason alone, the Court should deny T-Mobile’s

motion.

II.   T-Mobile is subject to specific jurisdiction.

        Courts in the Fifth Circuit apply a three-part test to determine whether specific

jurisdiction exists. Admar, 18 F.4th at 786. Here, AT&T must first show that T-Mobile

has minimum contacts with Texas—that it purposefully directed its activities at Texas and


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availed itself of the privilege of doing business here. Id. Second, AT&T must show that its

cause of action arises from, or is directly related to, T-Mobile’s contacts with Texas. Id.

Third, if AT&T satisfies the first two steps, then T-Mobile must show that exercising

jurisdiction would prove unfair or unreasonable. Id.

    A.        T-Mobile purposefully availed itself of the privilege of doing business in Texas.

       To        determine    personal    jurisdiction   based   on    a   website    such    as

“BannedSeniors.com,” courts in the Fifth Circuit apply the Zippo factors. See, e.g., Andra

Group, 2018 WL 2848985, at *5–6. First, the Court assesses the website’s interactivity. Id.

If, as here, the website is not passive, the Court then analyzes the defendant’s forum

contacts. Id. At bottom, however, Zippo seeks to answer a simple question: “Has the

defendant targeted the forum state? The touchstone of personal jurisdiction remains the

existence of some act by which the defendant purposefully avails itself of the privilege of

conducting activities within the forum state, thus invoking the benefits and protections of

its laws.” Admar, 18 F.4th at 786. And here, the answer to that question is plainly yes.

         1.        “BannedSeniors.com” is an interactive site through which T-Mobile enters
                   into business transactions with Texans.

       “Under the Zippo sliding-scale test, a passive website, which only allows the owner

of the website to post information, is not sufficient to establish personal jurisdiction.”

Andra Group, 2018 WL 2848985, at *5. At the other end of the scale is an interactive

website “whose owners engage in online contacts with forum residents through the site.”

Id. An interactive website that engages with forum residents “will likely meet the minimum

contacts requirement.” Id. In the middle of the scale are “websites with some interactive

elements [that] allow for bilateral information exchange.” Id. When determining whether

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these websites have sufficient minimum contacts with the forum, “the Court must examine

the interactivity and nature of the forum contacts.” Id. (citations omitted).

       “BannedSeniors.com” satisfies “the high-end of the Zippo sliding scale by entering

into business transactions with customers in this district—i.e. the sale of merchandise to

customers from [the] website.” Id.; see Doc. 1, Compl. ¶¶ 16–17. T-Mobile offers no

evidence to the contrary. Nor could it. The newly revised site invites senior Texans to “Shop

T-Mobile’s 55+ plans now”:




https://www.bannedseniors.com/ (last visited Sept. 20, 2022). Clicking “Shop T-Mobile’s

55+ plans now” takes consumers to a page allowing them to, among other things, shop for

wireless plans, wireless phones, and accessories:




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https://www.t-mobile.com/cell-phone-plans/unlimited-55-senior-discount-plans            (last

visited Sept. 20, 2022). This means that “BannedSeniors.com” alone “will likely meet the

minimum contacts requirement.” Andra Group, 2018 WL 2848985, at *5.

       “BannedSeniors.com” is also highly interactive. The same linked page allows senior

Texans to, among other things, interact with T-Mobile customer service representatives,

call T-Mobile, log into and manage user accounts, check order status, redeem rebates,

switch mobile service to T-Mobile, and pay bills. https://www.t-mobile.com/cell-phone-

plans/unlimited-55-senior-discount-plans (last visited Sept. 20, 2022); see Andra Group,

2018 WL 2848985, at *5 (finding website was “highly interactive” when users could

contact owner, obtain shipping information, sign up for emails and follow blogs, track

orders, create accounts, and contact experts and receive advice); see Variant, Inc. v. Flexol



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Packaging Corp., No. 6:08-cv-478, 2009 WL 3082581, at *1 (E.D. Tex. Sept. 21, 2009)

(finding website was interactive when it allowed users to enter contact information).

       In sum, “BannedSeniors.com” “satisfies both the high end of the Zippo sliding scale

by entering into business transactions with customers in this district” and “the intermediate

level of the Zippo sliding scale by being a highly interactive website.” See Andra Group,

2018 WL 2848985, at *5. Thus, T-Mobile meets the minimum contacts requirement for

specific jurisdiction in Texas.

        2.      T-Mobile has minimum contacts with Texas.

       The crux of T-Mobile’s argument against specific jurisdiction is that nationwide

accessibility of a website cannot support specific jurisdiction in Texas. Doc. 18, Mot.

Dismiss at 9–11. This argument, which relies primarily on media libel opinions,

mischaracterizes AT&T’s allegations and applicable law. See, e.g., id. at 11 (citing Johnson

v. TheHuffingtonPost.Com, Inc., 21 F.4th 314, 319–20 (5th Cir. 2021), petition for cert.

filed (July 28, 2022)).

       First, specific jurisdiction is proper even under T-Mobile’s proffered test because

“BannedSeniors.com” expressly targets Texas. Second, this is not a media libel suit about

a one-off article published nationwide. It is a Lanham Act suit about false advertising of

goods and services sold in Texas to Texans. See, e.g., Doc. 1, Compl. ¶¶ 16–17. And as T-

Mobile’s own authority recognizes, that changes the analysis. Cf. Johnson, 21 F.4th at 320

(“Johnson says that HuffPost sells merchandise to Texans. But that doesn’t matter. Johnson

complains about a written article, not articles of clothing. Branded tees and coffee mugs




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have nothing to do with Johnson’s libel claim, so they cannot support claim-specific

jurisdiction.”).

       When claims are based on a defendant’s commercial website accessible in Texas, and

the defendant purposefully avails itself of the opportunity to do business in Texas, then

Texas courts have specific jurisdiction. Admar, 18 F. 4th at 787. This Court’s opinion in

Andra Group—which T-Mobile does not cite, let alone distinguish—made that plain. 2018

WL 2848985, at *5–6. The Fifth Circuit reaffirmed that point in the last year (and within

weeks of T-Mobile’s lead authority, Johnson) in Admar, another opinion that T-Mobile

fails to address. Accordingly, and for the reasons detailed below, T-Mobile has sufficient

minimum contacts with Texas.

           (a)       “BannedSeniors.com” targets Texas and Texans.

       Media libel precedent on minimum contacts is more restrictive than normal

precedent on minimum contacts, including Lanham Act cases like this one. Compare

Johnson, 21 F.4th at 321 (“What matters is whether HuffPost aimed the alleged libel at

Texas.”), with Andra Group, 2018 WL 2848985, at *5–6 (engaging in wholistic minimum

contacts assessment to determine whether defendant was subject to specific jurisdiction for

Lanham Act violations). Thus, media libel opinions, which require that the statements at

issue target the forum state, should not guide the Court’s analysis here. Johnson, 21 F.4th

at 319 (“For Texas to have jurisdiction, we concluded, the article had to target Texas

specifically and knowingly.”). Even so, “BannedSeniors.com” satisfies this stricter standard

because T-Mobile’s website targets Texas and Texans.




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       T-Mobile claims that AT&T banned “senior discounts outside of Florida.”

https://www.bannedseniors.com (last visited Sept. 20, 2022). Based on that false claim, T-

Mobile suggests that seniors can “get around . . . AT&T’s ludicrous practices” by

“switch[ing] to T-Mobile.” Id. T-Mobile published a map expressly targeting Texas, as one

of the states on the map “outside of Florida,” to induce senior Texans to switch their

wireless service from AT&T to T-Mobile:




Id.; see also Doc. 1, Compl. ¶ 17. In so doing, T-Mobile “specifically and knowingly”

targeted Texas to make the false statement that AT&T banned senior discounts here. Even

under T-Mobile’s incorrect standard, it is subject to specific jurisdiction here. See, e.g.,

Johnson, 21 F.4th at 318–19.

            (b)          T-Mobile performs additional acts to avail itself of Texas.

       When, in addition to an interactive website, defendants perform other “acts to

purposefully avail themselves of the forum state, such as advertising, conducting business

transactions with residents of the forum state, and soliciting funds from residents in the

forum state, there is sufficient support to find personal jurisdiction over the defendants.”

Andra Group, 2018 WL 2848985, at *6.

       As     detailed     above,   T-Mobile     undertakes    all   these   acts   in   Texas.

“BannedSeniors.com” advertises to Texans. T-Mobile has not only substantial corporate

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operations in Texas, but hundreds of retail locations that conduct business with and solicit

funds from Texans—including senior Texans in Sherman and Denison. T-Mobile sells

phones and other devices from those locations, injecting products into the Texas stream of

commerce. See Healix Infusion Therapy, Inc. v. Human Arc Corp. of Oh., No. H-08-cv-

3262, 2009 WL 7326369, at *7 (S.D. Tex. July 13, 2009) (noting that the Fifth Circuit

applies stream of commerce principles “with equal force” to “Lanham Act claims”); In re

Toyota Hybrid Brake Litig, No. 4:20-cv-127, 2021 WL 2805455, at *6 (E.D. Tex. July 6,

2021) (citations omitted) (“When courts in the Fifth Circuit apply the stream-of-commerce

theory, the minimum contacts prong is satisfied so long as the court finds that the defendant

delivered the product into the stream of commerce with the expectation that it would be

purchased by or used by consumers in the forum state.”).

       What’s more, AT&T alleges that Texans access “BannedSeniors.com” and that T-

Mobile has gained sales in Texas from that access. Compl. ¶¶ 17; see also Andra Group,

2018 WL 2848985, at *6 (“Defendants have been found to have purposefully directed their

activities to forum residents where forum residents use the allegedly infringing website in

the forum. Also, defendants have been found to have purposefully directed their activities

to forum residents when defendants generate income from forum residents.”).

“BannedSeniors.com” directly links to pages offering interactions with customer service

representatives. Id. (“Websites that offer customer service options to forum residents also

have been considered to be purposefully directed at forum residents.”).

       Simply put, T-Mobile does not merely run a website that is accessible in Texas. Cf.

Admar, 18 F.4th at 788. It purposefully avails itself of the opportunity to do business in



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Texas and has deployed “BannedSeniors.com” to bolster that business through false

advertisements at AT&T’s expense. The contacts detailed above are more than enough to

subject T-Mobile to specific jurisdiction. Cf. id. at 787 (“[A] defendant does not have

sufficient minimum contacts with a forum state just because its website is accessible there.

The defendant must also target the forum state by purposefully availing itself of the

opportunity to do business in that state.”). This Court’s holding in Andra Group drives

that point home:

              Andra claims that Bareweb sells its products to customers in
              this district through its allegedly infringing website that
              presumably generates income from this district’s residents.
              Additionally, Bareweb offers services and support to customers
              in this district. Accordingly, the Court finds Bareweb has the
              requisite minimum contacts to be subject to specific personal
              jurisdiction in Texas.

2018 WL 2848985, at *6. For all these reasons, T-Mobile purposefully availed itself of the

opportunity to do business in Texas. See Scrum Alliance, Inc. v. Scrum, Inc., No. 4:20-cv-

00227, 2020 WL 4016110, at *5 (E.D. Tex. July 16, 2020) (citations omitted)

(“Defendants . . . who reach out beyond one state and create continuing relationships and

obligations with citizens of another state are subject to regulations and sanctions in the

other state for consequences of their actions.”).

     B.   AT&T’s claims arise out of or relate to T-Mobile’s contacts.

       AT&T’s Lanham Act claims arise from T-Mobile’s false advertisements on

“BannedSeniors.com” and the harm those false advertisements have caused and will cause

AT&T. “BannedSeniors.com” targets Texas and invites senior Texans to “switch to T-

Mobile” from AT&T in Texas. https://www.bannedseniors.com (last visited Sept. 20,



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2022). That switching happens as a direct result of the extensive Texas contacts detailed

above, from hundreds of T-Mobile retail locations to sell the services and products that

allow Texans to make the switch, to towers and other infrastructure that make T-Mobile’s

55+ plans possible, to corporate offices, payment of taxes, and upkeep of certificates and

registrations that support T-Mobile’s Texas operations. Accordingly, AT&T’s claims arise

out of or relate to T-Mobile’s contacts. See, e.g., Scrum Alliance, 2020 WL 4016110, at *7

(“Defendant SI has established minimum contacts with Texas. And Plaintiff’s trademark-

infringement claim arises out of or results from those contacts. So the court has the power

to issue Plaintiff’s requested preliminary injunction . . .”).

     C.    Exercising jurisdiction would be reasonable.

       “‘It is rare to say the assertion of jurisdiction is unfair after minimum contacts have

been shown.’” Scrum Alliance, 2020 WL 4016110, at *4. But “[t]his is not one of those

rare cases.” Id. at 8. T-Mobile offers no evidence to the contrary.

       T-Mobile faces little to no burden litigating in Texas, especially given its corporate

presence here. Id. at 4, 8 (“Defendant SI has spent significant time in Texas and . . . also

earned significant revenue from its forum contacts.”). This is especially true considering the

amount of litigation both that T-Mobile has filed here as plaintiff, or in which T-Mobile

has consented to jurisdiction as defendant. See, e.g., T-Mobile US, Inc., et al. v. AIO

Wireless, LLC, No. 4:13-cv-02478 (S.D. Tex.); see also Nodal Tech. LLC v. T-Mobile US,

Inc. and T-Mobile USA, Inc., No. 2:22-cv-00176-JRG (E.D. Tex.), Doc. 7, Answer ¶ 6

(consenting to jurisdiction).3


3
 See also, e.g., Cedar Land Tech., Inc. v. T-Mobile USA, Inc., No. 6:20-cv-00988-ADA (W.D. Tex.), Doc.
14, Answer ¶ 5 (admitting that T-Mobile “has engaged in systematic and continuous business activities in

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        Texas has a vested interest in protecting its citizens—especially its senior citizens—

from false advertising. Scrum Alliance, 2020 WL 4016110, at *8 (“If Defendant SI is

committing trademark infringement within Texas as plaintiff claims, Texas and its citizens

have a strong interest in this dispute.”); Veracity Rsch. Co. v. Bateman, No. 3:07-cv-2158-

L, 2008 WL 2951910, at *6 (N.D. Tex. Aug. 1, 2008) (“Texas has a substantial interest in

protecting its citizens from trademark infringement, unfair competition, and libel.”).

AT&T’s “interest in convenient and effective relief is furthered by litigating this action in

Texas.” Veracity Research, 2008 WL 2951910, at *6. So too is the general interest in

“efficient resolution of the conflict.” Id.

        For all these reasons, T-Mobile’s “argument that the Court’s exercise of specific

personal jurisdiction over it would offend ‘fair play and substantial justice’ is erroneous.”

Scrum Alliance, 2020 WL 4016110, at *8.

III. Alternatively, AT&T moves for leave to conduct jurisdictional discovery.

        Trial courts have broad discretion in deciding whether to allow jurisdictional

discovery. Monkton Ins. Servs., Ltd. v. Ritter, 768 F.3d 429, 434 (5th Cir. 2014). If the

Court is inclined to grant T-Mobile’s motion to dismiss, AT&T requests leave to conduct

jurisdictional discovery into (1) T-Mobile’s continuous and systematic contacts with the

State of Texas through its extensive operations here and (2) T-Mobile’s interactions with

and sales to Texans through its “BannedSeniors.com” advertising campaign.



this District . . . for purposes of this action only”); Traxcell Tech., LLC v. T-Mobile USA, Inc., No. 2:17-cv-
00720-RWS-RSP (E.D. Tex.), Doc. 8, Answer ¶ 4 (“T-Mobile admits that this Court has personal jurisdiction
over T-Mobile in this action.”); Evans v. T-Mobile USA, Inc., No. 4:15-cv-00578-ALM (E.D. Tex.), Doc. 4,
Answer ¶¶ 3–4 (consenting to jurisdiction and venue in Sherman); Persiano v. T-Mobile USA, Inc., No. 4;14-
cv-00504-ALM (E.D. Tex.), Doc. 10, Answer ¶¶ 4–5 (admitting that T-Mobile “has transacted business in
this district” and consenting to jurisdiction and venue in Sherman).

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                                      CONCLUSION

       T-Mobile is subject to general jurisdiction because its extensive operations in Texas

and use of Texas as one of three corporate hubs make it “at home” here. T-Mobile is also

subject to specific jurisdiction because “BannedSeniors.com” is a highly interactive website

that targets Texas and T-Mobile purposefully availed itself of the privilege of doing business

here, AT&T’s claim arises from those contacts, and the exercise of jurisdiction would be

reasonable. For either or both reasons, the Court should deny T-Mobile’s motion to dismiss.




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                                         Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       The undersigned certifies that, on September 20, 2022, the foregoing document was
submitted to the clerk of the U.S. District Court, Eastern District of Texas, using the
electronic case filing system (CM/ECF) of the court. I certify that the document was served
on all known counsel of record electronically as authorized by Federal Rule of Civil
Procedure 5(b)(2).



                                                 /s/ Pete Marketos
                                                 Pete Marketos




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